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                                                                                  01/24/2022
   1                        UNITED STATES DISTRICT COURT
   2                        CENTRAL DISTRICT OF CALIFORNIA                           DVE


   3
   4    Felipe Nery Gomez                            Case No: 2:22-cv-00576-AB-(PLAx)
   5
   6
   7    v.                                           18 USC 1961 et seq.
   8                                                 (RICO-Mail Fraud/Theft, Civil
                                                     Conspiracy)
   9    Charles Schwab & Co. Inc.
  10    Garrett Wynne
                                                     760 ILCS 20/ Illinois UTMA
  11    Vincent Trace Schmeltz




                                                     Ad Danum: $1,250,000+
  12
  13
  14                                       COMPLAINT
  15
  16
  17         NOW COMES FELIPE GOMEZ, in Equity and at Law, acting as private
  18   attorney general under inter alia 18 USC 1961 et seq., and 760 ILCS 20/ et seq.,
  19   and files this Complaint grieving as to Defendants, and Petitions the Court for a
  20   FINDING and declaring that defendants and others named herein individually
  21   and collectively engaged in conduct, in concert or cooperation with others, for
  22   personal and mutual financial gain, directed at and intentionally interfering with
  23   Plaintiff’s legal contracts and Custodial legal duties, as well as those of other of
  24   Arthur’s attorneys, including direct interference Plaintiff’s Custodial and former
  25   legal representation of his beneficiary and former legal client Arthur, that
  26   violated, inter alia, state and federal law, on more than one occasion, and
  27   MOVES the Court for an INJUNCTION requiring Defendants to cease and desist
  28   violating and interfering with, and to disgorge, inter alia, mailings and


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 1   communications to Charles Schwab related to Plaintiff from 2011 to date, and all
 2   information that should have been sent directly to undersigned by Charles
 3   Schwab, and stating in support:
 4
 5         I.    PARTIES
 6
 7   1.    Plaintiff Felipe Gomez was and is at all times relevant hereto, an Illinois
 8         resident, whom was appointed, and agreed with Testator Sandra Gomez
 9         to be Illinois Custodian of a Schwab UTMA (xxxx7542) and a Schwab IRA
10         (xxxx4115), for the benefit of then and at all times Illinois resident Arthur
11         Gomez, and remains in that capacity as to any and all continuing duty that
12         lays on former Custodial to complete the collection of Arthur’s assets and
13         investigate claims Arthur’s Custodial Estate might have for Waste and
14         other offences to the Res occasioned prior to reaching the age of
15         termination, 21 in Illinois, and sues in the alternative or collectively
16         thereunder as may apply, as well as in his personal capacity for redress of
17         the lies and malfeasance directed at Plaintiff by Defendants here.
18
19   2.    Defendants Schwab, and its Attorneys Garrett Wynne and Vincent
20         Trace Schmeltz, allegedly, inter alia, and at issue here, in concert with
21         others, diverted or participated in the diversion of undesigned’s and
22         Arthur Gomez’s mails starting in 2011 and continuing to late 2020 or early
23         2021, and also did and continue to endeavor to cover up that
24         malfeasance, to date, including the filing of false lawsuits, including
25         Schwab v Gomez,19cv3833 (NDILL).
26


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 1
 2         II.   FACTS
 3
 4   3.    On or about 1.02.09, Custodian Dr. Sandra W. Gomez, M.D., designated
 5         undersigned Felipe Gomez as the Successor Custodian to Schwab IRA xxx-
 6         4115, and Schwab UTMA xxx-7542, for the benefit of Arthur Gomez, his son, and
 7         on 7.14.11, Custodian Felipe Gomez duly notified Schwab of the passing of Dr.
 8         Gomez in relation to inherited IRA xxx-4115 and UTMA xxxx-7542.
 9
10   4.    As a matter of formality and common practice, the Sandra W. Gomez Living
11         Trust had designated itself as Contingent Beneficiary to Arthur Gomez for the
12         IRA xxxx-4115, which contingency was extinguished as of 7.4.11 upon Dr.
13         Gomez’s passing while Arthur survived her, with right of survivorship passing to
14         Arthur’s designated heirs.
15
16   5.    From 2011 to late 2020, Schwab mailed confidential information and monthly
17         statements, addressed to the “Custodian” for both accounts to 1645 Sonata
18         Lane, San Marcos, CA., which, were admittedly collected from that mailbox by
19         Larry Weisenthal, in knowing or constructive concert with Defendant and
20         spouse/Trustee Connie Weisenthal, with or without the direction or knowledge
21         or of The SWG Living Trust Attorneys, despite Schwab having first hand personal
22         knowledge that Plaintiff was Custodian as of 7.4.11, despite the Sonata Lane
23         property being sold in 2014 as attorney for The Sandra W. Gomez Living Trust
24         (which subsequent occupants are alleged on information and belief to be
25         possibly accepting the mail for, at the direction of, or in cooperation with
26         Defendants Schwab and Wynne, as well as King and/or, Trustee A. Anthony
27         Gomez, and despite Schwab filing 19cv3833, and the Trustee and the Trust
28         attorneys having been requested to cease and desist from accepting such mails

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 1         and to cease and desist from allowing it to continue unabated, such occurring
 2         until late 2020.
 3
 4   6.    On or about 2019, RICO co-conspirator William King expressed to Arthur, by
 5         way of attempted extortion, and then to undersigned, Arthur’s Settlement
 6         Counsel Prihoda (in related 19cv0827 and 19cv3833, N.D. Ill), and the California
 7         Bar, his mis-belief that his client, The Sandra W. Gomez Living Trust, still stood
 8         to benefit in the event that Arthur had passed away or abandoned the Schwab
 9         IRA xxxx-4115, which is alleged to be the financial motive for the conduct
10         alleged herein, which view on information and belief was shared by the
11         Defendants.
12
13   7.    In 2020, Plaintiff finally managed to correct the incorrect address used and on
14         3.4.20 Her Honor Chief Judge Pallmeyer, in Schwab v Gomez, 19cv0827, N.D.
15         Illinois, declared the assets to belong to Arthur (with no findings as to Plaintiff
16         other than Plaintiff agreed with Her Honor that the account belonged to Arthur,
17         and that undersigned never claimed otherwise).
18
19   8.    In the interim, Plaintiff was unable to access the account or be informed as to
20         its status, was unable to calculate or payout the yearly RMD for xxxx-4115, and
21         was unable to protect the Res from, inter alia, any tax consequences and
22         penalties that may have or could accrue due to the RMD failures.
23
24   9.    Plaintiff’s and Arthur’s Counsel, Virginia Prihoda, was also lied to by Defendant
25         Wynne, whom, on information and belief in concert with Defendant Schmeltz,
26         contrived to inform that Schwab had no assets of Arthurs, when it still had the
27         IRA, and Defendant Schmeltz has continued that deception, and the deflection
28         that was 19cv3833, which falsely claims Plaintiff was trying to claim and account


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 1         that was unknown to and being hidden from Plaintiff.
 2
 3   10.   In the interim, Plaintiff also has incurred over $250,000 in unpaid professional
 4         and attorney fees (not counting Plaintiff’s own), and was forced to not
 5         prosecute other paying cases, due to Defendants’ and others intentional use of
 6         the mails to propagate business for themselves, and the Courts to try to cover it
 7         up, continuing to date.
 8
 9   11.   Specifically, Plaintiff previously alleged tat Defendant Schwab mailed, with the
10         first and second set of trustees collecting, all or a portion of the at least 192
11         monthly confidential statement mailings, without authority, and on information
12         and belief, Wynne and then Schmeltz either personally directed Schwab, or
13         allowed Schwab, to continue the mailings and/or the residents of 1645 Sonata
14         to continue to accept same, and/or submitted a series of forwardings, and.or
15         otherwise arranged or helped arrange the diversion, and in any event
16         Defendants and the Trustees have personal knowledge as to why, inter alia,
17         Schwab sent at least 192 mailings for nearly a decade to a deceased
18         “custodian” at a bad address, of which Defendants are alleged to have an active
19         part in, including actively lying to Plaintiff and his agents.
20
21   12.   Specifically, earlier this month, Cooperator Larry Weisenthal admitted to
22         collecting Arthur’s mails from at least 2011 to 2013, and then giving them to the
23         Trustee, admitted to occurring in numerous emails to Plaintiff and Arthur’s
24         attorney Counsel Prihoda, and as supported by Larry’s sworn affidavit.
25
26   13.   To date, the confidential statements and related documents, numbering in the
27         thousands and belonging someone other than Defendants or whomever now
28         possesses them, have not been located, and Defendants are alleged to have


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 1          knowledge and active fault with regard thereto.
 2
 3          III.   COUNTS
 4
 5          Plaintiff presents the following State claim by way of pendant jurisdiction, and
 6   presents same as it is a basis for part of the claims related to Defendants’
 7   simultaneous interference with the U.S. Mails, Plaintiff’s Custodial duties, and Plaintiff’s
 8   and Arthur’s rights as a beneficiary.
 9
10
11                                           COUNT 1
12                                  CIVIL CONSPIRACY/RICO
13                                     18 USC 1961 et seq.
14
15   14.    Paragraphs 1-12 are incorporated herein.
16   15.    18 USC 1701 provides:
17          “Obstruction of mails generally. Whoever knowingly and willfully
18          obstructs or retards the passage of the mail, or any carrier or conveyance
19          carrying the mail, shall be fined under this title or imprisoned not more
20          than six months, or both.”.
21
22   16.    18 U.S. Code § 1702 provides:
23          “Obstruction of correspondence. Whoever takes any letter, postal card, or
24          package out of any post office or any authorized depository for mail
25          matter, or from any letter or mail carrier, or which has been in any post
26          office or authorized depository, or in the custody of any letter or mail
27          carrier, before it has been delivered to the person to whom it was
28          directed, with design to obstruct the correspondence, or to pry into the
29          business or secrets of another, or opens, secretes, embezzles, or destroys
30          the same, shall be fined under this title or imprisoned not more than five
31          years, or both.”.

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 1
 2   17.   18 U.S. Code § 1708 provides:
 3         “Theft or receipt of stolen mail matter generally. \
 4
 5         Whoever steals, takes, or abstracts, or by fraud or deception obtains, or
 6         attempts so to obtain, from or out of any mail, post office, or station
 7         thereof, letter box, mail receptacle, or any mail route or other authorized
 8         depository for mail matter, or from a letter or mail carrier, any letter,
 9         postal card, package, bag, or mail, or abstracts or removes from any such
10         letter, package, bag, or mail, any article or thing contained therein, or
11         secretes, embezzles, or destroys any such letter, postal card, package,
12         bag, or mail, or any article or thing contained therein; or
13
14         Whoever steals, takes, or abstracts, or by fraud or deception obtains any
15         letter, postal card, package, bag, or mail, or any article or thing contained
16         therein which has been left for collection upon or adjacent to a collection
17         box or other authorized depository of mail matter; or
18
19         Whoever buys, receives, or conceals, or unlawfully has in his possession,
20         any letter, postal card, package, bag, or mail, or any article or thing
21         contained therein, which has been so stolen, taken, embezzled, or
22         abstracted, as herein described, knowing the same to have been stolen,
23         taken, embezzled, or abstracted—
24
25         Shall be fined under this title or imprisoned not more than five years, or
26         both.
27
28   18.   18 U.S. Code § 1341 provides:
29          “Frauds and swindles. Whoever, having devised or intending to devise
30         any scheme or artifice to defraud, or for obtaining money or property by
31         means of false or fraudulent pretenses, representations, or promises, or to
32         ...procure for unlawful use any...obligation, security, or other article, ...for
33         the purpose of executing such scheme or artifice or attempting so to do,
34         places in any post office or authorized depository for mail matter, any
35         matter or thing whatever to be sent or delivered by the Postal Service...or
36         takes or receives therefrom, any such matter or thing, or knowingly causes
37         to be delivered by mail or such carrier according to the direction thereon,

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 1         or at the place at which it is directed to be delivered by the person to
 2         whom it is addressed, any such matter or thing, shall be fined under this
 3         title or imprisoned not more than 20 years, or both. (Emphasis Added).
 4
 5   19.   18 U.S. Code § 1952 provides:
 6
 7         “Interstate and foreign travel or transportation in aid of racketeering
 8         enterprises.
 9
10         (a) Whoever travels in interstate or foreign commerce or uses the mail or
11         any facility in interstate or foreign commerce, with intent to—
12
13         (3) otherwise promote, manage, establish, carry on, or facilitate the
14         promotion, management, establishment, or carrying on, of any unlawful
15         activity, and thereafter performs or attempts to perform—(A) an act
16         described in paragraph...(3) shall be fined under this title, imprisoned not
17         more than 5 years, or both;
18
19   20.   18 USC 1961 provides, inter alia:
20         (1) “racketeering activity” means...(B) any act which is indictable under any of
21         the following provisions of title 18, United States Code: ...section 1341 (relating
22         to mail fraud)...section 1952 (relating to racketeering)”
23
24         (3) “person” includes any individual or entity capable of holding a legal or
25         beneficial interest in property;
26
27         (4) “enterprise” includes any individual, partnership, corporation,
28         association, or other legal entity, and any union or group of individuals
29         associated in fact although not a legal entity;
30
31         (5) “pattern of racketeering activity” requires at least two acts of
32         racketeering activity, one of which occurred after the effective date of this
33         chapter and the last of which occurred within ten years (excluding any
34         period of imprisonment) after the commission of a prior act of
35         racketeering activity;
36


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 1   21.   18 USC 1962 provides:
 2         “Prohibited activities.
 3
 4         (a) It shall be unlawful for any person who has received any income
 5         derived, directly or indirectly, from a pattern of racketeering activity or
 6         through collection of an unlawful debt in which such person has
 7         participated as a principal within the meaning of section 2, title 18, United
 8         States Code, to use or invest, directly or indirectly, any part of such
 9         income, or the proceeds of such income, in acquisition of any interest in,
10         or the establishment or operation of, any enterprise which is engaged in,
11         or the activities of which affect, interstate or foreign commerce...
12
13         (b) It shall be unlawful for any person through a pattern of racketeering
14         activity or through collection of an unlawful debt to acquire or maintain,
15         directly or indirectly, any interest in or control of any enterprise which is
16         engaged in, or the activities of which affect, interstate or foreign
17         commerce.
18
19         (c) It shall be unlawful for any person employed by or associated with any
20         enterprise engaged in, or the activities of which affect, interstate or foreign
21         commerce, to conduct or participate, directly or indirectly, in the conduct
22         of such enterprise’s affairs through a pattern of racketeering activity or
23         collection of unlawful debt.
24
25         (d) It shall be unlawful for any person to conspire to violate any of the
26         provisions of subsection (a), (b), or (c) of this section
27
28   22.   At all relevant times, Defendants and the unsued coconspirators named
29         herein, were and are “whoever” under 18 USC 1341, 1701, 1702,1708, and
30         1952, as defined therein.
31
32   23.   At all relevant times, Defendants, and fellow Californians The
33         Weseinthals, The (defunct) WJK Law Firm, and (disbarred) King, each
34         was a “person” and an “enterprise” pursuant to 18 USC § 1961(3) and (4),
35         and under California and Illinois law, whom were related by way of and

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 1          engaged in a common scheme to control and deny Plaintiff, beneficiary,
 2          and the Custodial accounts, as well as to cover that up.
 3
 4    24.   Plaintiff and Arthur Gomez, and his accounts and the Custody thereof,
 5          were and are also both “persons” and “enterprises” as defined under 18
 6          UCS 1961(3) and 1961(4), over whom Defendants and others engaged in a
 7          common scheme and pattern of conduct intended, designed and
 8          implemented, individually but for a common purpose (tacit or
 9          serendipitous) to attempt to control and acquire control over Plaintiff and
10          the deny access to accounts belonging to Arthur, by illegal and prohibited
11          means.
12
13    25.   Plaintiff alleges that the conduct the Defendants engaged in alleged
14          herein, tortious misuse, diversion, mis-sending and/or theft of the mails,
15          and their respective activities in covering that up, and interfering with
16          Plaintiff’s duty to safekeep, maintain and transfer the Schwab accounts to
17          his Beneficiary Arthur, affected interstate and foreign commerce, as that
18          term is understood and law and pursuant to 18 USC § 1962, and thus
19          comprised prohibited “racketeering activity” by each and all, falling under
20          and violating RICO.
21
22    26.   Each Defendant is alleged to have knowingly misused USPS mailings,
23          directing, aiding, abetting or otherwise assisting in the knowing sending at
24          least 192 separate confidential statements to a deceased person whom by
25          law cannot be a “custodian” as stated on each of the 192 labels of the
26          known mailings, to an address that had been sold as a matter of record


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 1          since 2014, in furtherance of independent yet related schemes to gain
 2          control over the accounts and/or extort releases, and to attempt to cover
 3          up the malfeasance and misfeasance related to the UTMA and IRA.
 4
 5    27.   This pattern of mis-directed mis-accepted mails occurred over a period of
 6          several years from the date of Dr. Gomez passing (7.04.11) to date,
 7          constitutes, inter alia, hornbook mail fraud, and thus rises to the level of a
 8          pattern of racketeering activity in violation of 18 USC 1962.
 9
10    28.   As detailed above, each of the Defendants and unsued entities discussed
11          herein are alleged to have agreed amongst themselves to attempt to and
12          to participate, and/or to have cooperated tacitly or overtly, by attempting
13          and participating, with tacit or blatant agreement or otherwise, in a
14          scheme or schemes, to control and/or extort Plaintiff and his Res and
15          Beneficiary, and also to cover up and perpetrate prior malfeasance,
16          including by way of mail fraud as alleged herein.
17
18    29.   Plaintiff asserts claims against all defendants for conspiring to violate
19          Plaintiff’s Custodial and personal legal rights, as well as violating 18 USC §
20          1962, by attempting to gain control, gaining control of, and participating in
21          the affairs of an enterprise (Plaintiff) through a pattern of racketeering
22          activity.
23
24    30.   The defendants’ conspiracy to violate § 1962(c) is a violation of § 1962(d).
25
26    31.   The use of mails for improper purpose is mail fraud under 18 USC 1341,


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 1          and Plaintiff alleges that each defendant’s subject communications
 2          controverting undersigned’s authority and/or attempting to extort or
 3          impugn undersigned were made in violation of the mail fraud and
 4          statutes cited herein.
 5
 6    32.   Plaintiff alleges he and his beneficiary were enterprises which were
 7          attempted to be defrauded by Defendants’ participation in diverting years
 8          of mails, on more than two occasions, and by two or more acts of unsued
 9          entities for the common purpose of control, profit and avoiding liability
10          through illegal means.
11
12    33.   As a result of the above-described racketeering activity, plaintiff and his
13          beneficiary have been collectively proximately damaged in their rights
14          and property in an amount of no less than $1,000,000.00
15
16    34.   Pursuant to § 1964(c), plaintiff is entitled to recover threefold damages
17          plus costs and attorneys’ fees from the “RICO defendants”, and pursuant
18          to § 1964(a), the plaintiffs are entitled to appropriate injunctive relief to
19          prevent and to restrain future RICO violations, WHEREFORE injunctive
20          relief restraining Defendants is requested and damages are prayed for in
21          an amount of 3 times the damages assessed, with fees and costs.
22
23                                          COUNT 2
24                VIOLATION OF ILLINOIS UNIFORM GIFT TO MINOR’S ACT
25                        INTERFERENCE WITH CUSTODIAL DUTIES
26                                    760 ILCS 20/ et seq.
27    35.   Paragraphs 1-12 are incorporated herein by reference.

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 1    36.   760 ILCS 20/13, provides:
 2          “Sec. 13. Care of Custodial Property.
 3          (a) A custodian shall:
 4
 5          (1) take control of custodial property;
 6          (2) register or record title to custodial property if appropriate; and
 7          (3) collect, hold, manage, invest, and reinvest custodial property.
 8
 9          (b) The custodian, notwithstanding statutes restricting investments by
10          fiduciaries, shall invest and reinvest the custodial property as would a prudent
11          person of discretion and intelligence who is seeking a reasonable income and
12          the preservation of his capital, including without limitation in one or more
13          common trust funds as defined in and from time to time established,
14          maintained and administered pursuant to "An Act concerning common trust
15          funds", approved July 29, 1943, as now or hereafter amended, except that he
16          may, in his discretion and without liability to the minor or his estate, retain
17          custodial property given to the minor in a manner prescribed in this Act or hold
18          money so given in an account in the financial institution to which it was paid or
19          delivered by the transferor...
20
21          ...(e) A custodian shall keep records of all transactions with respect to custodial
22          property, including information necessary for the preparation of the minor's tax
23          returns, and shall make them available for inspection at reasonable intervals by
24          a parent or representative of the minor or by the minor if the minor has attained
25          the age of 14 years. (Source: P.A. 84-1129.)”
26
27    37.   760 ILCS 20/14 provides:
28          “Sec. 14. Powers of Custodian.
29
30          (a) A custodian, acting in a custodial capacity, has all the rights, powers, and
31          authority over custodial property that unmarried adult owners have over their
32          own property...
33
34    38.   760 ILCS 20/17, provides in relevant part:
35          “Exemption of Third Person from Liability. A third person in good faith and
36          without court order may act on the instructions of or otherwise deal with any


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 1          person purporting to make a transfer or purporting to act in the capacity of a
 2          custodian and, in the absence of knowledge, is not responsible for determining:
 3
 4          (1) the validity of the purported custodian's designation;
 5
 6          (2) the propriety of, or the authority under this Act for, any act of the purported
 7          custodian;
 8
 9          (3) the validity or propriety under this Act of any instrument or instructions
10          executed or given either by the person purporting to make a transfer or by the
11          purported custodian; or
12
13          (4) the propriety of the application of any property of the minor delivered to the
14          purported custodian.
15
16    39.   760 ILCS 20/21 provides in relevant part:
17          “Sec. 21. Termination of Custodianship.
18
19           (a) The custodian shall transfer in an appropriate manner the custodial
20          property (to the extent that it has not been used pursuant to this Act) to
21          the minor or to the minor's estate upon the earlier of:
22
23                 1) the minor's attainment of 21 years of age with respect to
24                 custodial property transferred under Section 5 or 6;
25
26                 (2) the minor's attainment of majority under the laws of this State
27                 other than this Act with respect to custodial property transferred
28                 under Section 7 or 8; or
29
30                 (3) the minor's death.
31
32    40.   Under 760 ILCS 20, at all times relevant hereto subsequent to 7.4.11, Illinois
33          resident Felipe Gomez, was at all times Custodian of Schwab inherited IRA
34          xxxx-4115 and UTMA 7542 until delivery, for the benefit of Arthur Gomez, having
35          been appointed Custodian by Dr. Gomez for Arthur Gomez on or around


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 1          1.02.09, whose duties to assure complete transfer and address and recover for
 2          waste to the res continue.
 3
 4    41.   Plaintiff alleges that Defendants part in sending, and the accepting, diverting
 5          and/or misdirecting the Schwab mails, and then the attempted cover up, for
 6          both xxxx-7542 and xxxx-4115, be it negligent or intentional, when they knew
 7          that Plaintiff was Custodian for such accounts, directly and intentionally
 8          interfered with undersigned’s duties under law as to beneficiary Arthur and the
 9          accounts, such results inuring to have prevented Plaintiff’s execution of 760
10          ILCS 20/13 and 20/14 to date, and constituted and constitutes violations of 760
11          ILCS 20/ and other laws which Plaintiff reserves the right to amend to add after
12          further investigation.
13
14    42.   Plaintiff alleges Defendants’ conduct in assisting in mailing confidential
15          statements to a deceased person at an address known to belong to someone
16          else was a proximate and direct result of Schwab misdirecting mails to a
17          deceased person whom cannot be a Custodian, and directly interfered with
18          Plaintiff’s duties at the cost of missed tax obligations and over $250,000 and fees
19          and costs, with both Plaintiff and beneficiary Arthur being thereby exposed to
20          liability at no fault of their own, with the profit and gain of Defendants and
21          others associated as motive.
22
23    43.   Defendants, and whomever was taking the mails at 1645 Sonata addressed to
24          Dr. Gomez, as a group, collectively ignored and continue to ignore the authority
25          of undersigned as duly appointed custodian of the UTMA on behalf of
26          Arthur, and actively worked individually and as a group for independent
27          and common malicious and illegal purposes to subvert same, to the
28          financial and constitutional detriment of the common beneficiary of both
29          Plaintiff and Defendants as well as to Plaintiff, thus knowingly interfering
30          with and preventing Plaintiff’s duties to transfer the res as required under
31          760 ILCS 20/21(a), causing irreparable harm, injury and damages to

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 1             Plaintiff and his beneficiary.
 2
 3    44.      WHEREFORE, PLAINTIFF prays this court enter a finding that such
 4             conduct is in direct contradiction to Illinois law and undersigned’s rights
 5             thereunder as UTMA Custodian, to wit 760 ILCS 20/ et seq., and the
 6             provisions cited above, and Plaintiff moves this Court to enter an Order
 7             requiring Defendants to:
 8             A)         cease and desist interfering with the mailings related to the two
 9                        accounts, Plaintiff or beneficiary Arthur Gomez;
10             B)         immediately disclose to Plaintiff or Arthur’s current tax and estate
11                        attorney Virginia Prihoda, all information in their possession as to
12                        the two accounts without awaiting discovery;
13             C)         cooperate with Plaintiff and this Court in concluding Plaintiff’s
14                        Custodianship, including immediately determining how and why
15                        confidential mails were sent for 2 accounts for 8 years to a known
16                        bad address;
17             D)         pay damages of at least $1,250,000, and attorneys fees and costs to
18                        Plaintiff for such violations and interference.
19
20

21    Submitted By:                               ,
22    Date: 1.24.22
23    Felipe Gomez, Pro Se
24    1922 W. Belmont Ave 1F
25    Chicago, IL 60657
26    312.509.2071
27    t312.509.2071@gmail.com




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